                                                                           DISTRICT OF OREGON
                                                                                FILED
                                                                                July 21, 2017
                                                                         Clerk, U.S. Bankruptcy Court



         Below is an Order of the Court.

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 5                                                      _______________________________________
                                                                  PETER C. McKITTRICK
 6                                                                U.S. Bankruptcy Judge

 7
 8                              UNITED STATES BANKRUPTCY COURT

 9                                 FOR THE DISTRICT OF OREGON

10   In Re:                                      Bankruptcy Case
                                                 No. 16-33185-pcm11
11   PETER SZANTO
12                      Debtor.
                                                 Adv. Proc. No. 16-3114
13   PETER SZANTO
14                      Plaintiff,               ORDER ON DEFENDANTS’ MOTION FOR
15         v.                                    SANCTIONS (Doc. 125)
     EVYE SZANTO, VICTOR SZANTO, NICOLE
16   SZANTO, KIMBERLEY SZANTO, MARIETTE
17   SZANTO, ANTHONY SZANTO, AUSTIN
     BELL, JOHN BARLOW and BARBARA
18   SZANTO ALEXANDER

19                       Defendants.

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21        Defendants filed a Motion for Sanctions (Doc. 125) which was
22   addressed by the court in the hearing held in the above-captioned case
23   on June 29, 2017.       For the reasons stated on the record and in the
24   interest of justice and good cause appearing therefor,
25        IT IS HEREBY ORDERED:
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                          Case 16-03114-pcm   Doc 163   Filed 07/21/17
 1     1. Plaintiff shall produce all documents responsive to Defendants’
 2         First Request for Production on or before July 11, 2017.
 3     2. Plaintiff’s objection that Defendants’ First Set of Interrogatories
 4         to Plaintiff Peter Szanto contains discrete subparts is overruled,
 5         except with regard to Interrogatory #6.           Interrogatory #6 contains
 6         five discrete subparts, with each part counting toward the total
 7         number of interrogatories allowable under the Fed. R. Civ. P.
 8     3. The total number of interrogatories allowed for Defendants is
 9         hereby increased to 27 to account for the number of discrete
10         subparts presented by Interrogatory #6.
11     4. Plaintiff’s objection that Interrogatory #3 is overbroad is
12         sustained.   Plaintiff’s obligation to respond to Interrogatory #3
13         is limited to the time period from January 1, 2000 to present and
14         further limited to only require plaintiff to respond regarding all
15         legal actions involving plaintiff and any of defendants, entities
16         associated with defendants or defendants’ agents.
17     5. Defendants are awarded their fees and costs related to the Motion
18         for Sanctions.     Defendants shall file documentation of their fees
19         and costs by declaration by July 13, 2017.           Plaintiff shall file
20         his objections, if any, by August 1, 2017.
21                                            ###
22
     cc:   Peter Szanto
23         Troy Sexton
24         UST

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